                 Case 2:16-cr-00046-TLN Document 80 Filed 05/07/18 Page 1 of 3


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 MATTHEW M. YELOVICH
   TODD A. PICKLES
 3 Assistant United States Attorney
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NOS. 2:16-CR-00046 GEB; 2:16-CR-00001
                                                         GEB
12                                Plaintiff,
                                                         STIPULATION REGARDING EXCLUDABLE
13                          v.                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
                                                         [PROPOSED] FINDINGS AND ORDER
14   ZALATHIEL AGUILA,
15                                Defendants.
16

17
                                                 STIPULATION
18
            1.      By previous order, this matter was set for status on May 11, 2018.
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            2.      By this stipulation, the parties now move to continue the status conference until June 15,
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     2018, and to exclude time between May 11, 2018, and June 15, 2018, under Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has produced approximately 32,161 pages of discovery directly
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            to defense counsel in this matter to date, as well as multiple audiovisual disks not included in that
24
            page count. This discovery consists of investigative reports, audio recordings, banking records,
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            escrow files, loan files, various subpoena returns, and other documents obtained or created in the
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            course of the investigation. Moreover, this discovery includes an image of a hard drive obtained
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            during the investigation related to the Capital Access business, containing voluminous files that
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            have not been individually Bates-stamped for pagination count. Finally, defense counsel has

      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       1
30    FINDINGS AND ORDER
                 Case 2:16-cr-00046-TLN Document 80 Filed 05/07/18 Page 2 of 3


 1          been informed that the government is in possession of additional documents available for

 2          inspection and copying at its offices.

 3                  b)     Counsel for defendant desires additional time to review this voluminous

 4          discovery, consult with her client, conduct investigation and research, and to otherwise evaluate

 5          the case and prepare for trial.

 6                  c)     Counsel for defendant believes that failure to grant the above-requested

 7          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 8          into account the exercise of due diligence.

 9                  d)     The government does not oppose the request for a continuance, but has advised

10          the defendant, through counsel, that it will be seeking to set trial dates at the next status

11          conference, now being set for June 15, 2018. This case involves conduct up to fourteen years

12          old, the defendant has previously entered and withdrawn a guilty plea and set the matter for trial,

13          and the government believes that further delay in setting a trial date is unwarranted. The

14          government would not oppose setting a trial date far enough into the future so as to allow

15          defense counsel adequate time to prepare for trial.

16                  e)     Based on the above-stated findings, the ends of justice served by continuing the

17          case as requested outweigh the interest of the public and the defendant in a trial within the

18          original date prescribed by the Speedy Trial Act.

19                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

20          et seq., within which trial must commence, the time period of May 11, 2018 to June 15, 2018,

21          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

22          because it results from a continuance granted by the Court at the parties’ request on the basis of

23          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

24          of the public and the defendant in a speedy trial.

25          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

26 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
27 must commence.

28          IT IS SO STIPULATED.

      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]         2
30    FINDINGS AND ORDER
              Case 2:16-cr-00046-TLN Document 80 Filed 05/07/18 Page 3 of 3


 1 Dated: May 3, 2018                                    MCGREGOR W. SCOTT
                                                         United States Attorney
 2

 3                                                       /s/ MATTHEW M. YELOVICH
                                                         MATTHEW M. YELOVICH
 4                                                       Assistant United States Attorney
 5
     Dated: May 3, 2018                                  /s/ SHARI RUSK
 6                                                       SHARI RUSK
 7                                                       Counsel for Defendant
                                                         ZALATHIEL AGUILA
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 9
                                            FINDINGS AND ORDER
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           IT IS SO FOUND AND ORDERED.
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           Dated: May 4, 2018
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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]   3
30    FINDINGS AND ORDER
